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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No.: 1:17-cv-01942-WYD-MEH

   ROBERT JOHNSON,

           Plaintiff,
   v.

   TYLER SIMONSON, in his individual capacity;
   ST. MARY’S HOSPITAL & MEDICAL CENTER, INC., a Colorado nonprofit corporation; and
   HSS INC., a Colorado corporation,

         Defendants.
   ______________________________________________________________________________

        SECOND UNOPPOSED MOTION FOR EXTENSION OF TIME TO SUBMIT
      RESPONSES TO DEFENDANT ST. MARY’S HOSPITAL & MEDICAL CENTER,
    INC.’S FIRST SET OF WRITTEN DISCOVERY TO PLAINTIFF ROBERT JOHNSON
   ______________________________________________________________________________

           Plaintiff Robert Johnson, by and through undersigned counsel, requests a one (1) week

   extension to respond to Defendant St. Mary’s Hospital & Medical Center, Inc.’s First Set of

   Written Discovery to Plaintiff Robert Johnson.

                                            CONFERRAL

           Counsel for Plaintiff, Julian G.G. Wolfson, conferred with counsel for Defendant St.

   Mary’s Hospital and Medical Center, Inc., Catherine O’Brien Crum, prior to filing this motion.

   Ms. O’Brien Crum indicated that her client does not oppose the relief requested herein.

                                            DISCUSSION

        1. Defendant St. Mary’s Hospital and Medical Center, Inc. (“St. Mary’s) served its First Set

           of Written Discovery to Plaintiff Robert Johnson (“Discovery Requests”) on November

           29, 2017.

        2. On January 8, 2018, Plaintiff filed an Unopposed Motion For Extension of Time To
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          Submit Responses to Defendant St. Mary’s Written Discovery Requests (“Motion for

          Extension”). [Doc. 45].

      3. In this Motion for Extension, Plaintiff requested an extension to respond to Defendant St.

          Mary’s Discovery Requests, up to an including January 12, 2018. [Doc. 45]. The Court

          has not yet ruled on this Motion for Extension.

      4. On January 9, 2018, it was determined that co-counsel E. Milo Schwab of SCHWAB

          LEGAL, LLC would no longer be representing Plaintiff moving forward.

      5. In light of this change in representation, counsel for Plaintiff seeks an extension for an

          additional one (1) week, up to and including January 19, 2018, to respond to Defendant

          St. Mary’s Discovery Requests.

      6. No parties will be prejudiced by the relief requested in this unopposed motion.

      7. The request for extension comports with the requirements of D.C.COLO.LCivR 6.1(c) as

          it is being served contemporaneously by Plaintiff’s counsel on his Client.

          WHEREFORE, Plaintiff respectfully requests that this Court enter an Order granting him

   an extension of time to submit his responses to Defendant St. Mary’s Discovery Requests, up to

   and including January 19, 2018.

                 Dated this 12th day of January, 2018.

                                                /s/Julian G.G. Wolfson
                                                LAW OFFICE OF JULIAN G.G. WOLFSON, LLC
                                                1630 Welton Street #413
                                                Denver, CO 80202
                                                720-507-5133
                                                jwolfsonlaw@gmail.com

                                     CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that on this 12th day of January, 2018, I electronically filed a true and
   exact copy of the above and foregoing SECOND UNOPPOSED MOTION FOR
   EXTENSION OF TIME TO SUBMIT RESPONSES TO DEFENDANT ST. MARY’S



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   HOSPITAL & MEDICAL CENTER, INC.’S FIRST SET OF WRITTEN DISCOVERY
   TO PLAINTIFF ROBERT JOHNSON with the Clerk of the Court using the CM/ECF system
   which will send notification of such filing to the following individuals:

   Catherine O’Brien Crum
   Jessie M. Fischer
   Nixon Shefrin Hensen Ogburn, PC
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   Counsel for Defendant St. Mary’s Hospital & Medical Center, Inc.

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   Counsel for Defendant Simonson

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   Counsel for Defendant HSS Inc.


                                                                      /s/Julian G.G. Wolfson




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